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                                                      July 26, 2018


        VIA ECF

        Honorable Cheryl L. Pollak
        United States Magistrate Judge
        United States District Court, Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, New York 11201


                  Re:     Freeman, et al. v. HSBC Holdings plc, et al., 14-cv-6601 (DLI)(CLP)


        Dear Judge Pollak:

               Plaintiffs write to alert the Court to a recently issued decision, Kaplan v. Cent. Bank of the
        Islamic Republic of Iran, No. 16-7122, --- F.3d ----, 2018 WL 3490072 (D.C. Cir. July 20, 2018),
        another Anti-Terrorism Act case in which Bank Saderat PLC (“BSPLC”) is a defendant. In
        Kaplan, the U.S. Court of Appeals for the D.C. Circuit “conclud[ed] that the act-of-war exception
        presents a merits issue, not a jurisdictional one,” id. at *7, rejecting the identical argument BSPLC
        has made in this case. See Bank Saderat PLC’s Mem. in Supp. Mot. to Dismiss, Sept. 14, 2016,
        ECF 116-1, at 3 (“Act of War Limitation Is Jurisdictional.”).


                                                      Respectfully submitted,


                                                      /s/ Gary M. Osen


        cc:       Chief Judge Dora L. Irizarry
                  All Counsel
